                                                                                                      Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
                                                                               2116-CV25672

               IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                AT KANSAS CITY



JAMIE L. INGRAM,                                     )
607 North Campbell Street                            )
Pleasant Hill, Missouri 64080                        )
                                                     )
                                Plaintiff,           )
                                                     )
vs.                                                  )      Case No. ____________________
                                                     )      Division _______
DICK’S SPORTING GOODS, INC.,                         )
Serve Registered Agent:                              )
       CSC-Lawyers Incorporating Services            )
       Company                                       )
       221 Bolivar Street                            )
       Jefferson City, Missouri 65101                )
                                                     )
                                Defendant.           )


                                   PETITION FOR DAMAGES
                                      (Case Type Code: TJ)

       COMES NOW Plaintiff Jamie L. Ingram, by and through counsel, and for her Petition

against Defendant Dick’s Sporting Goods, Inc. for employment discrimination and retaliation in

violation of the Missouri Human Rights Act (hereafter “MHRA”), Rev. Stat. Mo. § 213.010, et

seq., and in violation of the Missouri Whistleblower Protection Act (hereafter “WPA”), Rev.

Stat. Mo. § 285.575, et seq., and in retaliation for her exercise of rights under Missouri Workers’

Compensation Law, in violation of § 287.780 of the Revised Statutes of Missouri and Missouri

public policy, states and alleges as follows:

                                                PARTIES

       1.      Plaintiff Jamie L. Ingram is an individual residing in the State of Missouri, at 607

North Campbell Street, Pleasant Hill, Missouri 64080. Plaintiff was employed by Defendant




        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 1 of 44
                                                                                                   Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
beginning on or about November 3, 2004 and continuing until her wrongful termination on or

about December 3, 2020.

       2.      Defendant Dick’s Sporting Goods, Inc. is a foreign for-profit corporation doing

business in the State of Missouri including at its place of business located in Jackson County,

Missouri where Plaintiff was employed at the time of her wrongful termination.

       3.      At all relevant times, Defendant was an “employer(s),” as defined by the MHRA,

the WPA, and Missouri common law, and thus Defendant is liable to Plaintiff under the MHRA,

the WPA, and otherwise according to statutory and common law.

                                   Jurisdiction and Venue

       4.      This Court has personal jurisdiction over Defendant because the Defendant is

doing business in the State of Missouri, including Jackson County, Missouri, where the Plaintiff

was employed and otherwise Defendant has sufficient minimum contacts with Missouri to confer

jurisdiction on this Court.

       5.      Venue is proper in this Court pursuant to Mo. Rev. Stat. § 213.111.1 because

Defendants engaged in unlawful discriminatory and retaliatory practices in Jackson County,

Missouri.

       6.      Venue and Jurisdiction are further proper in this Court because Defendant

engaged in the wrongful conduct that forms the basis of this lawsuit, and the causes of action

accrued, in Jackson County, Missouri. See Mo. Rev. Stat. § 508.010.

               Background Facts and Exhaustion of Administrative Remedies

       7.      Plaintiff was employed by the Defendant for over 16 years, beginning on or about

November 3, 2004, and continuing until her wrongful termination from her final position as Loss

Prevention Manager on or about December 3, 2020.



                                               2

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 2 of 44
                                                                                                      Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
       8.       Throughout her employment, Plaintiff performed all duties of her positions as

required, exceeded the expectations of her positions and received promotions, praise, raises, and

excellent reviews for her work.

       9.       Plaintiff is a Caucasian (white) female.

       10.      Beginning in late 2019 a younger, male store manager was hired and he created

and perpetuated a sexually and racially hostile and harassing work environment lacking in

integrity and impacting the terms and conditions of Plaintiff’s employment.

       11.      The hostile and harassing work environment included discriminatory and

retaliatory statements and actions, illegal favoritism directed to other employees, denial of

training and advancement, failure to promote, denial of necessary support in Plaintiff’s role in

Loss Prevention, undermining of her job performance and other negative job actions.

       12.      Plaintiff complained about the hostile and harassing work environment and gave

Defendant notice of her severe emotional distress and anxiety resulting from the illegal

harassment and the illegal discriminatory and retaliatory conduct of the store manager to upper

district and regional management in operations, loss prevention and human resources.

       13.      Plaintiff also reported concerns that Defendant was violating federal firearms laws

and regulations related to licensure, purchase, reporting and related legal and public policy

requirements.

       14.      Following her legally protected complaints, Plaintiff was subjected to illegal

retaliation including a further and heightened hostile work environment, false performance

complaints, false discipline, an investigation into false complaints that she was improperly

targeting shoplifters based on race or unconscious bias, and ultimately, she was terminated for

illegal, discriminatory and retaliatory reasons.



                                                   3

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 3 of 44
                                                                                                       Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
       15.          Prior to and including her wrongful termination, Plaintiff experienced a

pattern and practice of disparate treatment in the terms and conditions of her employment before

her termination particularly as compared with male employees and/or non-white employees who

were similarly situated, a hostile work environment, false performance criticisms, and her

wrongful termination due to her sex and/or race discrimination and/or retaliation for reporting

illegal and discriminatory treatment by Defendant, for reporting violations of Missouri law and

public policy, or for exercising her rights under Missouri Workers’ Compensation law.

       16.     Plaintiff’s treatment is representative of the type of discriminatory and retaliatory

treatment that Defendant engages in against female and/or employees based on race, or those

who exercise their rights in favor of male and/or different race, less qualified employees.

       17.     The true reasons for the discriminatory and retaliatory employment actions of

Defendant against Plaintiff and all those who are similarly situated, including but not limited to

her wrongful termination, a hostile and harassing work environment and those adverse

employment actions set forth above, were illegal sex and/or race discrimination and retaliation

and/or retaliation against her in violation of public policy, and/or retaliation for exercising her

rights under Missouri Workers’ Compensation Law.

       18.     Defendant’s adverse actions were taken without any legitimate reason and in

violation of the law and less-qualified, male and/or non-white employees, and/or those who had

not complained about discrimination or violations of Missouri law and public policy were treated

more favorably than Plaintiff.

       19.     Defendant’s actions constitute illegal sex and/or race discrimination, and/or illegal

retaliation against Plaintiff in the terms and conditions of her employment in violation of the

MHRA and/or Missouri public policy, or Missouri Workers’ Compensation law.



                                                 4

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 4 of 44
                                                                                                        Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
         20.    On or about February 8, 2021, Plaintiff timely filed a charge of race and/or sex

discrimination, and retaliation against Defendants with the Missouri Commission on Human

Rights (“MCHR”). (Attached as Exhibit A).

         21.    On or about August 19, 2021, the MCHR issued its Notice of Right to Sue to

Plaintiff. (Attached as Exhibit B).

         22.    This lawsuit was filed within 90 days of the MCHR’s issuance of its Notice of

Right to Sue to Plaintiff.

         23.    Plaintiff has met all deadlines and has satisfied all procedural, administrative, and

judicial prerequisites to filing suit.

                             COUNT I – MHRA DISCRIMINATION

         24.    Plaintiff incorporates by reference the allegations of paragraphs 1 through 23

above.

         25.    Defendant discriminated against Plaintiff on the basis of her sex and/or race in the

terms and conditions of her employment, by subjecting her to a sexually and racially hostile and

harassing work environment, discriminatory and retaliatory statements and actions, illegal

favoritism directed to other employees, denial of training and advancement, failure to promote,

denial of necessary support in her role in loss prevention, undermining her job performance, false

performance criticisms, false allegations of bias, and ultimately causing her wrongful termination

in favor of a substantially less qualified male and/or non-white employees without any legitimate

reason and in violation of Defendant’s policies and procedures.

         26.    Defendant subjected Plaintiff to illegal sex and/or race harassment, including a

hostile work environment and discrimination, and/or illegal retaliation as set forth herein and it




                                                  5

          Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 5 of 44
                                                                                                    Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
did not take similar adverse job actions against similarly situated employees, including less

qualified male and/or non-white employees and other similarly-situated employees.

       27.     Plaintiff’s sex and/or race was a contributing and/or motivating factor in

Defendant’s intentional decision to discriminate against her in the terms and conditions of her

employment as set forth herein including, but not limited to, a sexually and racially hostile and

harassing work environment, discriminatory and retaliatory statements and actions, illegal

favoritism directed to other employees, denial of training and advancement, failure to promote,

denial of necessary support in her role in loss prevention, undermining her job performance, and

false performance criticisms, false allegations of bias, and her wrongful termination.

       28.     Plaintiff and other similarly-situated employees of Defendant experienced a

continuing pattern and practice of discrimination based on sex and/or race discrimination in the

terms and conditions of her or their employment with Defendant.

       29.     Defendant knew, or should have known, of the illegal sex and race harassment

and discrimination against Plaintiff and other similarly-situated employees.

       30.     Defendant failed to take prompt and appropriate corrective action to end the

sexual and racial harassment and discrimination against Plaintiff and other similarly-situated

employees.

       31.     Defendant failed to make good faith efforts to enforce its policies to prevent

harassment and discrimination against its employees, including Plaintiff.

       32.     Defendant harassed and discriminated against Plaintiff in the terms and conditions

of her employment because of her sex and/or race as set forth above, including by taking no

appropriate action to remedy its illegal conduct and by terminating her employment for false




                                                 6

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 6 of 44
                                                                                                       Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
alleged reasons in favor of similarly-situated employees who were not in the protected classes

like Plaintiff.

        33.       As a direct and proximate result of the continuing pattern and practice of sex

and/or race harassment and discrimination directed toward her or disparate treatment of her and

of the Defendant’s termination of her, Plaintiff has suffered actual damages in the form of lost

wages, lost fringe benefits, loss of earning capacity, loss of career opportunity, costs of seeking

alternate income, pain and suffering, mental anguish, loss of enjoyment of life, humiliation, upset

and other emotional distress, damage to her reputation, diminished job opportunities, and in other

respects, all in an amount yet to be determined.

        34.       Defendant’s actions and conduct were willful, wanton and malicious, and showed

complete indifference to or conscious disregard of the rights of Plaintiff under the MHRA, thus

justifying an award of punitive damages in an amount sufficient to punish Defendant and to deter

it from like conduct in the future.

        35.       Plaintiff has already incurred and will incur in the future substantial attorney’s

fees and expenses in prosecuting this action, and such fees and expenses are recoverable from

Defendant under the MHRA.

        WHEREFORE, Plaintiff prays for judgment in her favor and against Defendant on Count

I, and requests an award of her actual damages as is fair and reasonable, in an amount in excess

of Twenty-Five Thousand Dollars ($25,000.00), including but not limited to her lost wages and

benefits, with interest through the date of trial, damages for emotional pain and suffering,

inconvenience, mental anguish, loss of enjoyment of life, harm to reputation, loss of self-esteem,

humiliation and other nonpecuniary losses, damages for future loss of wages and benefits,

punitive damages, all costs including reasonable attorneys’ fees, pre-judgment and post-



                                                   7

         Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 7 of 44
                                                                                                        Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
judgment interest, equitable relief as appropriate, including but not limited to reinstatement, front

pay, and an injunction restraining the Defendant from future illegal actions, and any such other

relief as the Court deems just and proper.

                             COUNT II – MHRA RETALIATION

         36.   Plaintiff incorporates by reference the allegations of paragraphs 1 through 35

above.

         37.   Plaintiff had a good faith, reasonable belief that Defendant was engaging in

unlawful employment practices by subjecting her to a sexually and racially hostile and harassing

work environment, discriminatory and retaliatory statements and actions, illegal favoritism

directed to other employees, denial of training and advancement, failure to promote, denial of

necessary support in her role in loss prevention, undermining her job performance, false

performance criticisms, false allegations of bias, including violations of laws prohibiting sex

and/or race harassment and discrimination, and she reported her concern and opposition to these

unlawful practices to Defendant.

         38.   Defendant retaliated against Plaintiff in the terms and conditions of her

employment because of her report of and/or opposition to unlawful employment practices,

including, but not limited to, by taking no appropriate action to remedy the illegal conduct, by

continuing to subject her to a harassing and discriminatory work environment in the form

sexually and racially hostile and harassing conduct, discriminatory and retaliatory statements and

actions, illegal favoritism directed to other employees, denial of training and advancement,

failure to promote, denial of necessary support in her role in loss prevention, undermining her

job performance, false performance criticisms, false allegations of bias, including false

allegations of racial profiling or discrimination, and her discriminatory and retaliatory



                                                 8

          Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 8 of 44
                                                                                                        Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
termination in favor of a less qualified male and/or non-white employees, without any legitimate

reason and in violation of Defendant’s policies and procedures.

       39.     Plaintiff’s opposition to Defendant’s unlawful employment practices was a

contributing and/or motivating factor in Defendant’s decision to retaliate against her in the terms

and conditions of her employment.

       40.     As a direct and proximate result of Defendant’s illegal retaliatory actions, Plaintiff

has sustained damages in the form of lost wages, lost fringe benefits, loss of earning capacity,

loss of career opportunity, costs of seeking alternate income, pain and suffering, mental anguish,

loss of enjoyment of life, humiliation, upset and other emotional distress, damage to her

reputation, diminished job opportunities, and in other respects, all in an amount yet to be

determined.

       41.     Defendant failed to make good faith efforts to enforce its policies to prevent

discrimination and retaliation against its employees, including Plaintiff.

       42.     Defendant’s conduct was willful, wanton and malicious, and showed complete

indifference to or conscious disregard of the rights of Plaintiff under the MHRA, thus justifying

an award of punitive damages in an amount sufficient to punish Defendant and to deter it from

like conduct in the future.

       43.     Plaintiff has already incurred and will incur in the future substantial attorney’s

fees and expenses in prosecuting this action, which fees and expenses are recoverable from

Defendants under the MHRA.

       WHEREFORE, Plaintiff prays for judgment in her favor and against Defendant on Count

II, and requests an award of her actual damages as is fair and reasonable, in an amount in excess

of Twenty-Five Thousand Dollars ($25,000.00), including but not limited to her lost wages and



                                                 9

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 9 of 44
                                                                                                     Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
benefits, with interest through the date of trial, damages for emotional pain and suffering,

inconvenience, mental anguish, loss of enjoyment of life, harm to reputation, loss of self-esteem,

humiliation and other nonpecuniary losses, damages for future loss of wages and benefits,

punitive damages, all costs including reasonable attorneys’ fees, pre-judgment and post-

judgment interest, equitable relief as appropriate, including but not limited to reinstatement and

an injunction restraining Defendants from future retaliatory actions, and any such other relief as

the Court deems just and proper.

    COUNT III – RETALIATION IN VIOLATION OF MISSOURI PUBLIC POLICY

         44.   Plaintiff incorporates by reference the allegations of paragraphs 1 through 43

above.

         45.   Plaintiff had a good faith, reasonable belief that the Defendant was engaging in

illegal and/or improper conduct in violation of federal firearms laws and regulations related to

licensure, purchasing, reporting and related legal and public policy requirements.

         46.   Defendant’s violations included violations of the federal firearms removal process

– directly regulated by the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”),

including but not limited to, 18 U.S.C. 923(g)(4) and 27 C.F.R. 478.127.

         47.   Once firearms are removed from Defendant’s stores, all firearms documents and

licenses must be removed within 30 days. All 4473s (federal firearms purchase application

forms), must be removed in a specific way and sent to “ATF Records Retention” in West

Virginia.

         48.   The FFL – Federal Firearms License must be sent to the head of LP Firearms for

Defendant the date the 4473s are sent out of Defendant’s store.




                                                10

         Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 10 of 44
                                                                                                  Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
       49.     Failure to complete this process properly violates federal law and may result in

fines and loss of Federal Firearms Licensing privileges and these laws and regulations are

intended to promote gun safety and reduce crime in or around the communities where Defendant

operates, including in the State of Missouri.

       50.     While Plaintiff was conducting an inventory preparation walk at one Defendant’s

store in Sept 2020, she found the 4473s in the old gun stockroom after the firearms had been

removed for several months.

       51.     Another employee who had been an employee of Defendant for years expressed

his shock and concern that the 4473 files were still at the store.

       52.     Plaintiff reported these violations to her manager, the District Loss Prevention

Manager. She reported that Defendant should not have sent the FFL out until the 4473s were sent

out and expressed her concern that this was a big legal problem because this was not completed

and the forms needed to get shipped out.

       53.     Plaintiff also informed the District Loss Prevention Manager that the FFL should

not go out until the same day the 4473s are shipped out. She further expressed to the DLPM that

she was not comfortable completing the process and signing off on the paperwork with her name

since the legally required timeline had not been followed, and Defendant was not in legal

compliance with the firearm regulations.

       54.     Plaintiff also reported her concerns that Defendant’s other stores may be in the

same situation of violating federal firearms laws.

       55.     Plaintiff reported her opposition to Defendant’s illegal and/or improper conduct

regarding violating federal firearms laws and regulations related to licensure, purchasing,




                                                 11

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 11 of 44
                                                                                                       Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
reporting, return of firearms and related legal obligations for Defendant, and she refused to

participate in such violations.

       56.     Defendant retaliated against Plaintiff in the terms and conditions of her

employment because of her opposition to and reporting of reasonable good faith concerns with

actual violations of federal firearms regulations including as set forth above and herein, including

but not limited to, by subjecting her to a harassing and discriminatory work environment,

retaliatory statements and actions, illegal favoritism directed to other employees, denial of

training and advancement, failure to promote, denial of necessary support in her role in loss

prevention, undermining her job performance, false performance criticisms, false accusations of

bias, and her discriminatory and retaliatory termination for false alleged reasons.

       57.     Plaintiff’s opposition to and reporting her concerns with Defendant’s violations of

federal firearms regulations and/or her refusal to participate in actions in violation of federal

firearms regulations was or were a contributing and/or motivating factor and/or but for cause in

Defendant’s decision to retaliate against her in the terms and conditions of her employment.

       58.     As a direct and proximate result of such retaliation and her termination, Plaintiff

has sustained damages and is entitled to recover compensation for past and future lost wages, lost

fringe benefits, loss of earning capacity, loss of career opportunity, costs of seeking alternate

income, pain and suffering, mental anguish, emotional distress, loss of enjoyment of life,

humiliation, upset and other emotional distress, damage to her reputation, diminished job

opportunities, and in other respects, all in an amount yet to be determined.

       59.     Defendant’s disparate and retaliatory treatment of Plaintiff in the terms and

conditions of her employment was intentional, willful, and malicious and done pursuant to

Defendant’s policy, custom, or business practice designed and intended to punish her for



                                                12

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 12 of 44
                                                                                                     Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
asserting her rights and reporting her concerns with violations of Missouri law and public policy

and refusing to participate in such violations, and Defendant intended to discourage other

employees from doing the same in the future, all in willful and conscious disregard of Plaintiff’s

rights under the law, thus justifying an award of liquidated and/or punitive damages in an amount

sufficient to punish Defendant and to deter it from like conduct in the future.

         60.   Plaintiff has already incurred and will incur in the future substantial attorney’s

fees and expenses in prosecuting this action.

         WHEREFORE, Plaintiff prays for judgment in her favor and against Defendant on Count

III, and requests an award of her actual damages as is fair and reasonable, in an amount in excess

of Twenty-Five Thousand Dollars ($25,000.00), including but not limited to her lost wages and

benefits, with interest through the date of trial, damages for emotional pain and suffering,

inconvenience, mental anguish, loss of enjoyment of life, harm to reputation, loss of self-esteem,

humiliation and other nonpecuniary losses, damages for future loss of wages and benefits,

liquidated and/or punitive damages, all costs including reasonable attorneys’ fees, pre-judgment

and post-judgment interest, equitable relief as appropriate, including but not limited to

reinstatement and an injunction restraining Defendant from future retaliatory actions, and any

such other relief as the Court deems just and proper.

               COUNT IV – WORKERS’ COMPENSATION RETALIATION

         61.   Plaintiff incorporates by reference the allegations of paragraphs 1 through 60

above.

         62.   Plaintiff engaged in protected activity under Missouri Worker’s Compensation

Law and Missouri public policy, including but not limited to by notifying Defendant of her

work-related occupational injuries incurred during her employment with Defendant and/or



                                                13

         Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 13 of 44
                                                                                                    Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
otherwise seeking protection or benefits under such laws.

       63.     Plaintiff was employed by Defendant beginning in 2004 and prior to the work

injuries she experienced while employed by Defendant.

       64.     During her employment with Defendant including in 2019 and 2020 prior to her

wrongful termination, Plaintiff was subjected to an illegal hostile and harassing work

environment by a new store manager that caused unusual and extraordinary emotional distress,

mental distress and anxiety resulting from the conduct of Defendant’s managers, employees

and/or agents directed toward Plaintiff.

       65.     For example, the new Store Manager would come to work intoxicated and harass

Plaintiff and he would also send “drunk texts” attacking Plaintiff for her attempts to enforce

company policies on shrink and loss prevention.

       66.     The store manager further made loud, aggressive negative statements to and about

Plaintiff, such as shouting at her “you are the most negative person in here, all you do is cause

problems, you don’t do your job, you suck at your job and you might as well go back to

Leawood!”

       67.     Plaintiff repeatedly told the District Manager and District Loss Prevention

Manager that she was working in a hostile work environment, and she was harassed and abused

and felt helpless concerning herself and her career, causing her severe and unusual emotional

distress as a result of the harassment of the Store Manager.

       68.     After further harassment and retaliation, Plaintiff called Defendant’s Human

Resources manager and reported that she felt harassed, abused, bullied, scared for her job and

that she had been forced to endure an extremely hostile work environment for a very long time,

resulting in severe and unusual emotional distress.



                                                14

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 14 of 44
                                                                                                     Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
       69.     Further, while at work Plaintiff was subjected to unusually hostile, harassing and

physically threatening and attacking conduct by customers of Defendant’s stores.

       70.     In the fall of 2020 Plaintiff repeatedly asked upper management for help with the

criminal activity in her store and explained she had no help and there was an extreme lack of

response from local police to incidents of criminal activity.

       71.     Plaintiff reported to Defendant that her store was not a normal environment, there

were crazy hostile people coming into the store, and it was dangerous for Plaintiff and other

employees and customers.

       72.     For example, Plaintiff called 911 on a shoplifter on a Sunday night and finally

hung up on 911 because no one answered. Plaintiff expressed her concern to upper management

that she could be injured or killed. Plaintiff explained to Defendant’s management that she

continued to call 911 six times over the course of forty-five minutes begging the Police

Department to send an officer.

       73.     Plaintiff explained there was a hostile and aggressive shoplifter harassing

customers for rides since the get-a-way driver had left the scene. The shoplifter was attempting

to enter customers’ vehicles, was kicked out of one customer’s vehicle and left a knife inside the

vehicle. The shoplifter then came back in the building. It was over two hours later when someone

from the police department finally called Plaintiff back to see if she still needed assistance.

       74.     Plaintiff expressed to Defendant her extreme concern, and unusual and severe

emotional distress she was suffering associated with these work situations.

       75.     In early November 2020, Plaintiff tried to talk with a customer she believed had

shoplifted before. The shoplifter grabbed some items and headed toward the door of the store.

Plaintiff asked another employee to call mall security.



                                                 15

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 15 of 44
                                                                                                       Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
         76.   The shoplifter yelled threats and obscenities at Plaintiff and called her a “f****ng

White B***h” and then physically pushed Plaintiff as she ran out of the store. This incident

caused physical and emotional distress and anxiety for Plaintiff which she reported to Defendant

         77.   In her last conversation with Defendant’s Regional Director of Loss Prevention

during the first part of November 2020, Plaintiff expressed her concern that the unusually high

criminal “risk” level of her store was causing her severe and unusual mental and physical distress

and anxiety because she did not have adequate support from off duty law enforcement officers at

the store.

         78.   Plaintiff explained that “professional, career shoplifters” operating at her store

were hostile and not like other shoplifters in the district, and these same subjects were associated

with gang members who were often armed with firearms.

         79.   At that time, Plaintiff’s store was #21 in the company of overall risk due to the

number of reports entered for that location, and it was #1 in the entire company in two categories

– number of incidents entered and highest dollars in shoplifting preventions entered.

         80.   The Defendant’s policy is that its stores with more incidents and higher risk levels

should have added security with off duty law enforcement, security cameras, and similar support.

         81.   However, Plaintiff received no additional security assistance in spite of the

serious risk and extreme emotional and physical distress and anxiety caused by the lack of

adequate security at her store and in spite of off duty police officers being placed at lower risk

stores with managers more favored by Defendant.

         82.   By December 2020, Plaintiff’s store had experienced at least three separate gun

related incidents within three years. These events impact the “Risk Ranking” of a particular

store.



                                                16

         Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 16 of 44
                                                                                                    Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
       83.     Shortly after Plaintiff was terminated, Defendant placed an additional armed off

duty police officer as a security guard at her former store.

       84.     Plaintiff complained to Defendant about the hostile and illegal environment and

the hostile and physically threatening conduct of Defendant’s customers, including the work-

related anxiety, emotional and physical distress and illness, depression, and mental anguish she

was experiencing as a result of Defendant’s conduct and resulting from the events she had

encountered while in the performance of her job duties.

       85.     Defendant was aware of Plaintiff’s mental and/or physical work injuries resulting

from the hostile and harassing work environment and physical attacks on Plaintiff and

threatening conduct as described above.

       86.     By objective standards, the amount of work stress Plaintiff experienced due to the

hostile and harassing work environment created and tolerated by Defendant was both work-

related and was extraordinary and unusual.

       87.     A reasonable person in the same or similar position to Plaintiff while employed

by Defendant would also have suffered extraordinary and unusual mental and emotional stress

and/or physical injuries.

       88.     Plaintiff’s exercise of rights under Missouri Worker’s Compensation Law was a

contributing, motivating, and/or but for factor in Defendant’s disparate treatment of her in the

terms and conditions of her employment as set forth above, including but not limited to by

subjecting her to a harassing and discriminatory work environment, retaliatory statements and

actions, illegal favoritism directed to other employees, denial of training and advancement,

failure to promote, denial of necessary support in her role in loss prevention, undermining her

job performance, false performance criticisms, false allegations of bias, and her discriminatory



                                                 17

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 17 of 44
                                                                                                      Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
and retaliatory termination for false alleged reasons.

       89.     Defendant, including those with knowledge of and/or who were influenced by

those who had knowledge of Plaintiff’s workplace injuries and her providing notice of the

workplace injuries, discriminated and retaliated against Plaintiff because of her workplace injury,

her workers’ compensation report of the injury, notice of the workplace injury and/or the right of

Plaintiff to seek compensation under chapter 287 for the workplace injury including unfairly

disciplining Plaintiff and terminating her and the other adverse employment actions set forth

above and herein.

       90.     Any purported reasons given by Defendant or their agents for the disparate

treatment of Plaintiff in the terms and conditions of her employment, including but not limited to

the termination of her employment are merely pretextual in nature, made in an attempt by

Defendant or its agents to hide the improper retaliatory and/or discriminatory motives for the

disparate treatment of Plaintiff for her exercise of rights under Missouri Workers’ Compensation

Law, in violation of § 287.780 of the Revised Statutes of Missouri and Missouri public policy.

       91.     As a direct and proximate result of such retaliation, disparate treatment, and

wrongful termination, Plaintiff has sustained damages in the form of lost wages, lost fringe

benefits, loss of earning capacity, loss of career opportunity, costs of seeking alternate income,

pain and suffering, mental anguish, emotional distress, loss of enjoyment of life, humiliation,

upset and other emotional distress, damage to her reputation, diminished job opportunities, and

in other respects, all in an amount yet to be determined.

       92.     Defendant’s disparate treatment of Plaintiff in the terms and conditions of her

employment, including but not limited to the wrongful conduct set forth above and terminating

Plaintiff’s employment was intentional, willful, and malicious and done pursuant to Defendant’s



                                                 18

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 18 of 44
                                                                                                      Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
policies, customs, or business practices designed and intended to punish Plaintiff for asserting

her rights under Missouri Workers’ Compensation law and Missouri public policy, and to

discourage other employees from doing the same in the future, all in willful and conscious

disregard of Plaintiff’s rights under the law.

          93.    Defendant’s conduct was willful, wanton and malicious, and showed complete

indifference to or conscious disregard of the rights of Plaintiff, thus justifying an award of

punitive damages in an amount sufficient to punish Defendant and to deter Defendant from like

conduct in the future.

          94.    Plaintiff has already incurred and will incur in the future substantial attorney’s

fees and expenses in prosecuting this action.

          WHEREFORE, Plaintiff prays for judgment in her favor and against Defendant, on

Count IV, and requests an award of her actual damages as is fair and reasonable, in an amount in

excess of Twenty-Five Thousand Dollars ($25,000.00), including but not limited to her lost

wages and benefits, with interest through the date of trial and thereafter, damages for emotional

pain and suffering, inconvenience, mental anguish, loss of enjoyment of life, harm to reputation,

loss of self-esteem, humiliation and other nonpecuniary losses, damages for future loss of wages

and benefits, punitive damages, all costs including reasonable attorneys’ fees, equitable relief as

appropriate, including but not limited to reinstatement and an injunction restraining Defendant

from future illegal and retaliatory actions, and any such other relief as the Court deems just and

proper.

                                  DEMAND FOR JURY TRIAL

          Plaintiff demands a trial by jury in the Circuit Court of Jackson County, Missouri at

Kansas City on all counts and allegations in this Petition.



                                                 19

          Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 19 of 44
                                                                            Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
                                Respectfully submitted,

                                SIRO SMITH DICKSON PC

                                By /s/ Eric W. Smith
                                   Eric W. Smith                MO #47108
                                   Rik N. Siro                  MO #33908
                                   Athena M. Dickson            MO #55104
                                   Raymond A. Dake              MO #62829
                                   Ryan P. McEnaney             MO #70235
                                   1621 Baltimore Avenue
                                   Kansas City, Missouri 64108
                                   816.471.4881 (Tel)
                                   816.471.4883 (Fax)
                                   esmith@sirosmithdickson.com (email)
                                   rsiro@sirosmithdickson.com (email)
                                   adickson@sirosmithdickson.com (email)
                                   rdake@sirosmithdickson.com (email)
                                   rmcenaney@sirosmithdickson.com (email)

                                    ATTORNEYS FOR PLAINTIFF




                               20

Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 20 of 44
                                                                                                  Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
                                                       2116-CV25672



                                                                   EXHIBIT




                                                                             exhibitsticker.com
                                                                     A




Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 21 of 44
                                                                                                                                                                                                                                      Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
                                    MISSOURI DEPARTMENT OF LABOR AND INDUSTRIAL RELATIONS                                                2116-CV25672
                              MISSOURI COMMISSION ON HUMAN RIGHTS
  MICHAEL L. PARSON                               ANNA S. HUI                                            DEREK M. HOLLAND                                          ALISA WARREN, PH.D.
      GOVERNOR                                DEPARTMENT DIRECTOR                                        COMMISSION CHAIR                                          EXECUTIVE DIRECTOR



August 19, 2021                                                                                                                 EXHIBIT




                                                                                                                                                       exhibitsticker.com




                                                                                                                                                                                                                      FE-2/21-32832
                                                                                                                                                                                         Administrative Use/Records
Jamie Ingram                                                                                                                          B
607 N. Campbell Street
Pleasant Hill, MO 64080
Via Complainant Attorney Email
                                                                NOTICE OF RIGHT TO SUE


RE:
              Missouri
          Ingram vs. Dick's Sporting Goods, Inc.
          FE-2/21-32832 563-2021-00993

The Missouri Commission on Human Rights (MCHR) is terminating its proceedings and issuing this



            Commission on
notice of your right to sue under the Missouri Human Rights Act because you have requested a notice of
your right to sue.

This letter indicates your right to bring a civil action within 90 days of this notice against the respondent(s)
named in the complaint. Such an action may be brought in any circuit court in any county in which the
unlawful discriminatory practice is alleged to have occurred but it must be brought no later than two years



            Human Rights
after the alleged cause occurred or its reasonable discovery. Upon issuance of this notice, the MCHR is
terminating all proceedings relating to the complaint. No person may file or reinstate a complaint with the
MCHR after the issuance of a notice of right to sue relating to the same practice or act. You are hereby
notified of your right to sue the Respondent(s) named in your complaint in state circuit court. THIS MUST
BE DONE WITHIN 90 DAYS OF THE DATE OF THIS NOTICE OR YOUR RIGHT TO SUE IS LOST.

You are also notified that the Executive Director is hereby administratively closing this case and
terminating all MCHR proceedings relating to it. This notice of right to sue has no effect on the suit-filing
period for any federal claims. This notice of right to sue is being issued as required by Section 213.111.1,
RSMo, because it has been over 180 days after the filing of this complaint and MCHR has not completed
its administrative processing.



(continued on next page)




                ;
        JEFFERSON CITY OFFICE                        ST. LOUIS OFFICE                          KANSAS CITY OFFICE                               SIKESTON OFFICE
          421 E. DUNKLIN ST.                  111 N. 7TH STREET, SUITE 903                        P.O. BOX 1129                         106 ARTHUR STREET, SUITE D
            P.O. BOX 1129                       ST. LOUIS, MO 63101-2100                  JEFFERSON CITY, 65102-1129                     SIKESTON, MO 63801-5454
   JEFFERSON CITY, MO 65102-1129                  PHONE: 314-340-7590                          FAX: 816-889-3582                              FAX: 573-472-5321
         PHONE: 573-751-3325                        FAX: 314-340-7238
          FAX: 573-751-2905
      Missouri Commission on Human Rights is an equal opportunity employer/program. Auxiliary aides and services are available upon request to individuals with disabilities.
                                                       TDD/TTY: 1-800-735-2966 (TDD) Relay Missouri: 711
                                                 www.labor.mo.gov/mohumanrights
                      Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 22 of 44     E-Mail: mchr@labor.mo.gov
                                                                                                                                                                               Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
                                               RE:        Ingram vs. Dick's Sporting Goods, Inc.
                                                         FE-2/21-32832 563-2021-00993


In addition to the process described above, if any party is aggrieved by this decision of the MCHR, that
party may appeal the decision by filing a petition under § 536.150 of the Revised Statutes of Missouri.
Any such petition must be filed in the Circuit Court of Cole County.


Respectfully,




Alisa Warren, Ph.D.
Executive Director


Dick's Sporting Goods, Inc.
Human Resources Director
18801 E. 39th Street
Independence, MO 64057

Michelle A. Haughey, PP, PLS
Siro Smith Dickson, PC
1621 Baltimore Avenue
Kansas City, MO 64108
Via Email




               ;
       JEFFERSON CITY OFFICE                        ST. LOUIS OFFICE                          KANSAS CITY OFFICE                               SIKESTON OFFICE
         421 E. DUNKLIN ST.                  111 N. 7TH STREET, SUITE 903                        P.O. BOX 1129                         106 ARTHUR STREET, SUITE D
           P.O. BOX 1129                       ST. LOUIS, MO 63101-2100                  JEFFERSON CITY, 65102-1129                     SIKESTON, MO 63801-5454
  JEFFERSON CITY, MO 65102-1129                  PHONE: 314-340-7590                          FAX: 816-889-3582                              FAX: 573-472-5321
        PHONE: 573-751-3325                        FAX: 314-340-7238
         FAX: 573-751-2905
     Missouri Commission on Human Rights is an equal opportunity employer/program. Auxiliary aides and services are available upon request to individuals with disabilities.
                                                      TDD/TTY: 1-800-735-2966 (TDD) Relay Missouri: 711
                                                www.labor.mo.gov/mohumanrights
                     Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 23 of 44     E-Mail: mchr@labor.mo.gov
                                                                                                 Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
                                                                           2116-CV25672

              IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                               AT KANSAS CITY

JAMIE L. INGRAM,                                  )
                                                  )
                            Plaintiff,            )
                                                  )
vs.                                               )       Case No. ____________________
                                                  )       Division _______
DICK’S SPORTING GOODS, INC.,                      )
                                                  )
                            Defendant.            )



                           DESIGNATION OF LEAD COUNSEL

       COMES NOW Eric W. Smith, and hereby states that he is lead counsel for Plaintiff in the

above-referenced matter.

                                              Respectfully submitted,

                                              SIRO SMITH DICKSON PC

                                              By /s/ Eric W. Smith
                                                 Eric W. Smith                MO #47108
                                                 Rik N. Siro                  MO #33908
                                                 Athena M. Dickson            MO #55104
                                                 Raymond A. Dake              MO #62829
                                                 Ryan P. McEnaney             MO #70235
                                                 1621 Baltimore Avenue
                                                 Kansas City, Missouri 64108
                                                 816.471.4881 (Tel)
                                                 816.471.4883 (Fax)
                                                 esmith@sirosmithdickson.com (email)
                                                 rsiro@sirosmithdickson.com (email)
                                                 adickson@sirosmithdickson.com (email)
                                                 rdake@sirosmithdickson.com (email)
                                                 rmcenaney@sirosmithdickson.com (email)

                                                      ATTORNEYS FOR PLAINTIFF




       Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 24 of 44
                                                                                                               Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
                                                                                      2116-CV25672

                        IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                          AT KANSAS CITY

JAMIE L. INGRAM,                                          )
                                 Plaintiff,               )
                                                          )
vs.                                                       )       Case No. ____________________
                                                          )       Division _______
DICK’S SPORTING GOODS, INC.,                              )
                                 Defendant.               )



                       MOTION FOR APPOINTMENT OF PRIVATE PROCESS SERVER

         COMES NOW Plaintiff, by and through counsel, and pursuant to Local Rule 4.9 of Jackson County Court
Rules, hereby moves for the appointment of HPS Process Service & Investigations, Inc.:

William Acree                PPS21-0488                   Danny Callahan               PPS21-0109
Michael Adamo                PPS21-0234                   Anna Canole                  PPS21-0263
Jan Adams                    PPS21-0092                   William Caputo               PPS21-0110
Roger Adams                  PPS21-0093                   Charles Casey                PPS21-0111
Kyle A. Adcock               PPS21-0489                   George Castillo              PPS21-0112
Alisha Allen                 PPS21-0094                   Carolyn S. Champlin          PPS21-0264
Sandra Allen                 PPS21-0095                   Alicia Clements              PPS21-0494
Cheryl Anderson              PPS21-0236                   John A. Clor                 PPS21-0266
Victor Aponte                PPS21-0096                   Kathleen Clor                PPS21-0267
Teresa Bailly                PPS21-0097                   Chad Compton                 PPS21-0116
Raymond Bandy                PPS21-0098                   Kenneth Condrey              PPS21-0118
Joseph L. Baska              PPS21-0490                   Sharon Condrey               PPS21-0119
Robert Bassler               PPS21-0242                   Kathy Cook                   PPS21-0121
Keith Blanchard              PPS21-0248                   Theodore Cordasco            PPS21-0269
Carrington Bell              PPS21-0025                   George Covert                PPS21-0270
George Bell                  PPS21-0243                   Michael Currie               PPS21-0273
Alexander R. Blea            PPS21-0249                   Bryce E. Dearborn            PPS21-0274
Dianna J. Blea               PPS21-0250                   Jennie Deaton                PPS21-0275
Richard J. Blea              PPS21-0251                   Robert DeLacy, Jr.           PPS21-0276
Kathy Broom                  PPS21-0256                   Robert DeLacy, III           PPS21-0277
Douglas S. Brower            PPS21-0257                   Dominic Dellaporte           PPS21-0123
Jeff Brown                   PPS21-0030                   Ricardo Delpratt             PPS21-0124
James Burke                  PPS21-0105                   Claudia A. Dohn              PPS21-0280
Alese Burris                 PPS21-0106                   Dale Dorning                 PPS21-0127
Randy Burrow                 PPS21-0107                   Cathrene Drake               PPS21-0128
Gary Burt                    PPS21-0031                   Rebecca J. Dressler          PPS21-0282
Stephen C. Buskirk           PPS21-0259                   Alexander C. Duaine          PPS21-0283
Steve Butcher                PPS21-0260                   Daniel Eberle                PPS21-0129
Melvin Cahoon                PPS21-0492                   Jessica L. Ellison           PPS21-0288

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 25 of 44
                                                                              Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
Abel Emiru                 PPS21-0130     Jonathan D. Hennings   PPS21-0149
Donald C. Eskra, Jr.       PPS21-0289     Taylor Herren          PPS21-0150
Leticia Estrada            PPS21-0290     Michael Hibler         PPS21-0151
Robert D. Fairbanks        PPS21-0292     James Hise             PPS21-0045
Brenna Faker               PPS21-0495     Gary F. Hodges         PPS21-0327
Michael Feehan             PPS21-0496     DeMarian Houston       PPS21-0330
William F. Ferrell         PPS21-0034     Martin J. Hueckel      PPS21-0152
Robert Finley              PPS21-0035     Anthony Iavarone       PPS21-0154
Mayra Flores               PPS21-0295     George Illidge         PPS21-0155
Robert Fluharty            PPS21-0298     Bobby Inman            PPS21-0499
Ryan D. Fortune            PPS21-0299     Frank James            PPS21-0156
James Frago                PPS21-0036     Matthew Jankowski      PPS21-0336
John Frago                 PPS21-0037     Betty A. Johnson       PPS21-0157
Darin Freeman, Jr.         PPS21-0133     Mike Johnson           PPS21-0047
Kelsey Garrett             PPS21-0302     Randy Johnson          PPS21-0338
Charles Gay                PPS21-0135     Tawanda Johnson        PPS21-0048
Richard Gerber             PPS21-0303     Rex D. Jones           PPS21-0339
Louis Gerrick              PPS21-0136     Samuel L. Jones, Jr.   PPS21-0340
Kurie L. Ghersini          PPS21-0304     Kenneth J. Kearney     PPS21-0342
Terri Gilam                PPS21-0137     Leisa L. Ketron        PPS21-0009
Paul Gizel                 PPS21-0305     Jeff Kimball           PPS21-0344
Adam Golden                PPS21-0306     Brent Kirkhart         PPS21-0051
Bradley Gordon             PPS21-0038     Janice Kirkhart        PPS21-0052
Tom Gorgone                PPS21-0139     Tyler Kirkhart         PPS21-0053
Christina Gregory          PPS21-0141     Kenneth Klewicki       PPS21-0158
Lynne Grimes               PPS21-0308     Wyman T. Kroft         PPS21-0159
Paul Grimes                PPS21-0142     Cody Kyser             PPS21-0161
Charles Gunning            PPS21-0040     Andrea M. Lambros      PPS21-0349
Leon Gustus                PPS21-0144     Joann Lane             PPS21-0163
David W. Hahn              PPS21-0309     Casey Lanford          PPS21-0350
Eric W. Hahn               PPS21-0310     James R. LaRiviere     PPS21-0164
Stefanie A. Hahn           PPS21-0311     Kristie S. Lewis       PPS21-0165
Darnell Hamilton           PPS21-0145     John Lichtenegger      PPS21-0354
Kimberly Hamilton          PPS21-0313     Bryan Liebhart         PPS21-0166
Raymond A. Hamilton, III   PPS21-0314     Bert Lott              PPS21-0054
Sheila Hand                PPS21-0498     Ellen C. MacFarland    PPS21-0169
Timothy S. Hansen          PPS21-0316     Robert Maliuuk         PPS21-0359
Christy Hartline           PPS21-0146     Winnonna Maliuuk       PPS21-0360
James Harvey               PPS21-0147     Deborah Martin         PPS21-0055
Grace Hazell               PPS21-0321     Michael Martin         PPS21-0056
Stephen Heitz              PPS21-0044     Roger C. Martucci      PPS21-0365
Teresa Y. Hendricks        PPS21-0323     Seon Mastain           PPS21-0172
Austen Hendrickson         PPS21-0324     Thomas Matthews        PPS21-0366




        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 26 of 44
                                                                                 Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
Kristin Mayo             PPS21-0501       Joshua Pitts              PPS21-0197
Michael McCann           PPS21-0173       Craig J. Podgurski, Jr.   PPS21-0399
Michael McMahon          PPS21-0174       Nancy A. Porter           PPS21-0401
Michael Meador           PPS21-0058       Benjamin Purser           PPS21-0198
Jerry Melber             PPS21-0176       Richard J. Ramirez        PPS21-0199
Eric Mendenhall          PPS21-0369       Christopher Reed          PPS21-0200
Jenna Mendoza            PPS21-0177       Edward R. Reed            PPS21-0405
Michael S. Miller        PPS21-0062       Betty Rice                PPS21-0201
Matthew Millhollin       PPS21-0063       Karen Rice                PPS21-0202
Christopher F. Miranda   PPS21-0372       Terri Richards            PPS21-0203
Karina Miranda           PPS21-0373       Cheryl Richey             PPS21-0204
Vivian Mitchell          PPS21-0180       Debra Rios                PPS21-0409
Carla Monegain           PPS21-0377       David M. Roberts          PPS21-0016
Carlos Moreno            PPS21-0181       Patricia J. Roberts       PPS21-0017
Michael S. Morrison      PPS21-0378       Adrienne M. Rodriguez     PPS21-0412
Vadall Morrow            PPS21-0503       Gabriel L. Rodriguez      PPS21-0413
Zachary Mueller          PPS21-0379       Richard Ross              PPS21-0205
Bruce Munro              PPS21-0504       Edna Russell              PPS21-0078
Sharon K. Murphy         PPS21-0380       Mark Russell, Jr.         PPS21-0206
Kelly Murski             PPS21-0182       Brenda Schiwitz           PPS21-0079
Paul Nardizzi            PPS21-0184       Nathaniel Scott           PPS21-0210
Wendy Neff               PPS21-0505       Grant Selvey              PPS21-0211
Jeremy Nicholas          PPS21-0065       Raymond A. Sinclair       PPS21-0421
Jeffrey Nichols          PPS21-0186       Laura Skinner             PPS21-0080
Michael Noble            PPS21-0066       Thomas Skinner            PPS21-0081
Michael Nolan            PPS21-0188       Jeremy Small              PPS21-0215
Colter Norris            PPS21-0385       Anthony Spada             PPS21-0083
Dennis Norris            PPS21-0386       Melissa Spencer           PPS21-0423
Kody Norris              PPS21-0387       Jamie Stallo              PPS21-0217
Trinity Olson            PPS21-0189       Barbara J. Steil          PPS21-0425
Elizabeth Ostman         PPS21-0190       Randy Stone               PPS21-0219
J.W. Padgett             PPS21-0389       Sonja Stone               PPS21-0218
Craig Palmer             PPS21-0390       Steven A. Stosur          PPS21-0426
Cynthia Paris            PPS21-0191       Robert T. Stover          PPS21-0021
Phillip Penn             PPS21-0192       Brittney Strozier         PPS21-0221
John Perez               PPS21-0392       Kimberly Swanson          PPS21-0508
George R. Perry          PPS21-0393       Ramona R. Talvacchio      PPS21-0428
Nathaniel Petty          PPS21-0506       Dolores Tedesco           PPS21-0222
Anha Pham                PPS21-0396       Grant Thomas              PPS21-0431
Thai Pham                PPS21-0397       Michelle Thomlin          PPS21-0432
Vincent Piazza           PPS21-0194       Gabriel E. Tranum         PPS21-0433
Brian Pierce             PPS21-0195       Clinton Turpen            PPS21-0509
Timothy Pinney           PPS21-0196       Paul Turpen               PPS21-0510




        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 27 of 44
                                                                                                                            Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
Christa Vanmeter                PPS21-0224                       Barbara A. West                 PPS21-0443
Harold Vantassel                PPS21-0225                       Derek L. Weston                 PPS21-0444
Margarito Vasquey               PPS21-0435                       Jane A. Weston                  PPS21-0445
Robert Vick, II                 PPS21-0226                       Pamela Wheetley                 PPS21-0086
Brad Votaw                      PPS21-0227                       Jonathan Wilkerson              PPS21-0449
Joseph T. Wachowski             PPS21-0438                       Gregory Willing                 PPS21-0088
Ambiko Wallace                  PPS21-0228                       Mitchell A. Wirth               PPS21-0452
Vance Warren, Sr.               PPS21-0229                       Connie Wilson                   PPS21-0089
Stephen R. Waters               PPS21-0440                       Adrienne D. Yates               PPS21-0455

as private process servers in the above-captioned matter. In support of said motion, Plaintiff/Petitioner states that the
above-named individuals are on the Court’s list of approved process servers and the information contained in their
applications and affidavits on file is current and still correct.

                                                            Respectfully submitted,

                                                            SIRO SMITH DICKSON PC

                                                           By /s/ Eric W. Smith
                                                              Eric W. Smith                         MO #47108
                                                              Rik N. Siro                           MO #33908
                                                              Athena M. Dickson                     MO #55104
                                                              Raymond A. Dake                       MO #62829
                                                              Ryan P. McEnaney                      MO #70235
                                                              1621 Baltimore Avenue
                                                              Kansas City, Missouri 64108
                                                              816.471.4881 (Tel)
                                                              816.471.4883 (Fax)
                                                              esmith@sirosmithdickson.com (email)
                                                              rsiro@sirosmithdickson.com (email)
                                                              adickson@sirosmithdickson.com (email)
                                                              rdake@sirosmithdickson.com (email)
                                                              rmcenaney@sirosmithdickson.com (email)
                                                          ATTORNEYS FOR PLAINTIFF



                          ORDER FOR APPOINTMENT OF PRIVATE PROCESS SERVER

        It is hereby ordered that Plaintiff’s Motion for Appointment of Private Process Server is sustained and the
above named individuals are hereby appointed to serve process in the above captioned matter.



DATE:                                                            ___________________________________
                                                                 Judge or Circuit Clerk




         Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 28 of 44
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 2116-CV25672
 CHARLES H MCKENZIE
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 JAMIE L INGRAM                                                     ERIC WATKINS SMITH
                                                                    1621 BALTIMORE AVENUE
                                                              vs.   KANSAS CITY, MO 64108
 Defendant/Respondent:                                              Court Address:
 DICK'S SPORTING GOODS, INC.                                        415 E 12th
 Nature of Suit:                                                    KANSAS CITY, MO 64106
 CC Employmnt Discrmntn 213.111                                                                                                       (Date File Stamp)

                                                              Summons in Civil Case
      The State of Missouri to: DICK'S SPORTING GOODS, INC.
                                      Alias:
  CSC-LAWYERS INCORPORATING SERV
  221 BOLIVAR STRET
  JEFFERSON CITY, MO 65101

         COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    24-NOV-2021                                _________________________________________
                                                        Date                                                    Clerk
        JACKSON COUNTY                 Further Information:

                                                                Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
          delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
            _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
            permanently resides with the Defendant/Respondent.
          (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
      ____________________________________________                                      _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
      Sheriff’s Fees
      Summons                      $
      Non Est                      $
      Sheriff’s Deputy Salary
      Supplemental Surcharge       $    10.00
      Mileage                      $                    (______ miles @ $.______ per mile)
      Total                        $
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Supreme Court Rule 54.




OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 21-SMCC-11152 1 of 1Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                      Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22                                  Page 29 of 44
                                                                                                   54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org → Electronic Filing Information → Required Documents for Service – eFiled cases →
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




           Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 30 of 44
                                                                                                   6/2020
                                                                                                               Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
                                                                                      2116-CV25672

                        IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                          AT KANSAS CITY

JAMIE L. INGRAM,                                          )
                                 Plaintiff,               )
                                                          )
vs.                                                       )       Case No. ____________________
                                                          )       Division _______
DICK’S SPORTING GOODS, INC.,                              )
                                 Defendant.               )



                       MOTION FOR APPOINTMENT OF PRIVATE PROCESS SERVER

         COMES NOW Plaintiff, by and through counsel, and pursuant to Local Rule 4.9 of Jackson County Court
Rules, hereby moves for the appointment of HPS Process Service & Investigations, Inc.:

William Acree               PPS21-0488                    Danny Callahan               PPS21-0109
Michael Adamo               PPS21-0234                    Anna Canole                  PPS21-0263
Jan Adams                   PPS21-0092                    William Caputo               PPS21-0110
Roger Adams                 PPS21-0093                    Charles Casey                PPS21-0111
Kyle A. Adcock              PPS21-0489                    George Castillo              PPS21-0112
Alisha Allen                PPS21-0094                    Carolyn S. Champlin          PPS21-0264
Sandra Allen                PPS21-0095                    Alicia Clements              PPS21-0494
Cheryl Anderson             PPS21-0236                    John A. Clor                 PPS21-0266
Victor Aponte               PPS21-0096                    Kathleen Clor                PPS21-0267
Teresa Bailly               PPS21-0097                    Chad Compton                 PPS21-0116
Raymond Bandy               PPS21-0098                    Kenneth Condrey              PPS21-0118
Joseph L. Baska             PPS21-0490                    Sharon Condrey               PPS21-0119
Robert Bassler              PPS21-0242                    Kathy Cook                   PPS21-0121
Keith Blanchard             PPS21-0248                    Theodore Cordasco            PPS21-0269
Carrington Bell             PPS21-0025                    George Covert                PPS21-0270
George Bell                 PPS21-0243                    Michael Currie               PPS21-0273
Alexander R. Blea           PPS21-0249                    Bryce E. Dearborn            PPS21-0274
Dianna J. Blea              PPS21-0250                    Jennie Deaton                PPS21-0275
Richard J. Blea             PPS21-0251                    Robert DeLacy, Jr.           PPS21-0276
Kathy Broom                 PPS21-0256                    Robert DeLacy, III           PPS21-0277
Douglas S. Brower           PPS21-0257                    Dominic Dellaporte           PPS21-0123
Jeff Brown                  PPS21-0030                    Ricardo Delpratt             PPS21-0124
James Burke                 PPS21-0105                    Claudia A. Dohn              PPS21-0280
Alese Burris                PPS21-0106                    Dale Dorning                 PPS21-0127
Randy Burrow                PPS21-0107                    Cathrene Drake               PPS21-0128
Gary Burt                   PPS21-0031                    Rebecca J. Dressler          PPS21-0282
Stephen C. Buskirk          PPS21-0259                    Alexander C. Duaine          PPS21-0283
Steve Butcher               PPS21-0260                    Daniel Eberle                PPS21-0129
Melvin Cahoon               PPS21-0492                    Jessica L. Ellison           PPS21-0288

        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 31 of 44
                                                                              Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
Abel Emiru                 PPS21-0130     Jonathan D. Hennings   PPS21-0149
Donald C. Eskra, Jr.       PPS21-0289     Taylor Herren          PPS21-0150
Leticia Estrada            PPS21-0290     Michael Hibler         PPS21-0151
Robert D. Fairbanks        PPS21-0292     James Hise             PPS21-0045
Brenna Faker               PPS21-0495     Gary F. Hodges         PPS21-0327
Michael Feehan             PPS21-0496     DeMarian Houston       PPS21-0330
William F. Ferrell         PPS21-0034     Martin J. Hueckel      PPS21-0152
Robert Finley              PPS21-0035     Anthony Iavarone       PPS21-0154
Mayra Flores               PPS21-0295     George Illidge         PPS21-0155
Robert Fluharty            PPS21-0298     Bobby Inman            PPS21-0499
Ryan D. Fortune            PPS21-0299     Frank James            PPS21-0156
James Frago                PPS21-0036     Matthew Jankowski      PPS21-0336
John Frago                 PPS21-0037     Betty A. Johnson       PPS21-0157
Darin Freeman, Jr.         PPS21-0133     Mike Johnson           PPS21-0047
Kelsey Garrett             PPS21-0302     Randy Johnson          PPS21-0338
Charles Gay                PPS21-0135     Tawanda Johnson        PPS21-0048
Richard Gerber             PPS21-0303     Rex D. Jones           PPS21-0339
Louis Gerrick              PPS21-0136     Samuel L. Jones, Jr.   PPS21-0340
Kurie L. Ghersini          PPS21-0304     Kenneth J. Kearney     PPS21-0342
Terri Gilam                PPS21-0137     Leisa L. Ketron        PPS21-0009
Paul Gizel                 PPS21-0305     Jeff Kimball           PPS21-0344
Adam Golden                PPS21-0306     Brent Kirkhart         PPS21-0051
Bradley Gordon             PPS21-0038     Janice Kirkhart        PPS21-0052
Tom Gorgone                PPS21-0139     Tyler Kirkhart         PPS21-0053
Christina Gregory          PPS21-0141     Kenneth Klewicki       PPS21-0158
Lynne Grimes               PPS21-0308     Wyman T. Kroft         PPS21-0159
Paul Grimes                PPS21-0142     Cody Kyser             PPS21-0161
Charles Gunning            PPS21-0040     Andrea M. Lambros      PPS21-0349
Leon Gustus                PPS21-0144     Joann Lane             PPS21-0163
David W. Hahn              PPS21-0309     Casey Lanford          PPS21-0350
Eric W. Hahn               PPS21-0310     James R. LaRiviere     PPS21-0164
Stefanie A. Hahn           PPS21-0311     Kristie S. Lewis       PPS21-0165
Darnell Hamilton           PPS21-0145     John Lichtenegger      PPS21-0354
Kimberly Hamilton          PPS21-0313     Bryan Liebhart         PPS21-0166
Raymond A. Hamilton, III   PPS21-0314     Bert Lott              PPS21-0054
Sheila Hand                PPS21-0498     Ellen C. MacFarland    PPS21-0169
Timothy S. Hansen          PPS21-0316     Robert Maliuuk         PPS21-0359
Christy Hartline           PPS21-0146     Winnonna Maliuuk       PPS21-0360
James Harvey               PPS21-0147     Deborah Martin         PPS21-0055
Grace Hazell               PPS21-0321     Michael Martin         PPS21-0056
Stephen Heitz              PPS21-0044     Roger C. Martucci      PPS21-0365
Teresa Y. Hendricks        PPS21-0323     Seon Mastain           PPS21-0172
Austen Hendrickson         PPS21-0324     Thomas Matthews        PPS21-0366




        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 32 of 44
                                                                                 Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
Kristin Mayo             PPS21-0501       Joshua Pitts              PPS21-0197
Michael McCann           PPS21-0173       Craig J. Podgurski, Jr.   PPS21-0399
Michael McMahon          PPS21-0174       Nancy A. Porter           PPS21-0401
Michael Meador           PPS21-0058       Benjamin Purser           PPS21-0198
Jerry Melber             PPS21-0176       Richard J. Ramirez        PPS21-0199
Eric Mendenhall          PPS21-0369       Christopher Reed          PPS21-0200
Jenna Mendoza            PPS21-0177       Edward R. Reed            PPS21-0405
Michael S. Miller        PPS21-0062       Betty Rice                PPS21-0201
Matthew Millhollin       PPS21-0063       Karen Rice                PPS21-0202
Christopher F. Miranda   PPS21-0372       Terri Richards            PPS21-0203
Karina Miranda           PPS21-0373       Cheryl Richey             PPS21-0204
Vivian Mitchell          PPS21-0180       Debra Rios                PPS21-0409
Carla Monegain           PPS21-0377       David M. Roberts          PPS21-0016
Carlos Moreno            PPS21-0181       Patricia J. Roberts       PPS21-0017
Michael S. Morrison      PPS21-0378       Adrienne M. Rodriguez     PPS21-0412
Vadall Morrow            PPS21-0503       Gabriel L. Rodriguez      PPS21-0413
Zachary Mueller          PPS21-0379       Richard Ross              PPS21-0205
Bruce Munro              PPS21-0504       Edna Russell              PPS21-0078
Sharon K. Murphy         PPS21-0380       Mark Russell, Jr.         PPS21-0206
Kelly Murski             PPS21-0182       Brenda Schiwitz           PPS21-0079
Paul Nardizzi            PPS21-0184       Nathaniel Scott           PPS21-0210
Wendy Neff               PPS21-0505       Grant Selvey              PPS21-0211
Jeremy Nicholas          PPS21-0065       Raymond A. Sinclair       PPS21-0421
Jeffrey Nichols          PPS21-0186       Laura Skinner             PPS21-0080
Michael Noble            PPS21-0066       Thomas Skinner            PPS21-0081
Michael Nolan            PPS21-0188       Jeremy Small              PPS21-0215
Colter Norris            PPS21-0385       Anthony Spada             PPS21-0083
Dennis Norris            PPS21-0386       Melissa Spencer           PPS21-0423
Kody Norris              PPS21-0387       Jamie Stallo              PPS21-0217
Trinity Olson            PPS21-0189       Barbara J. Steil          PPS21-0425
Elizabeth Ostman         PPS21-0190       Randy Stone               PPS21-0219
J.W. Padgett             PPS21-0389       Sonja Stone               PPS21-0218
Craig Palmer             PPS21-0390       Steven A. Stosur          PPS21-0426
Cynthia Paris            PPS21-0191       Robert T. Stover          PPS21-0021
Phillip Penn             PPS21-0192       Brittney Strozier         PPS21-0221
John Perez               PPS21-0392       Kimberly Swanson          PPS21-0508
George R. Perry          PPS21-0393       Ramona R. Talvacchio      PPS21-0428
Nathaniel Petty          PPS21-0506       Dolores Tedesco           PPS21-0222
Anha Pham                PPS21-0396       Grant Thomas              PPS21-0431
Thai Pham                PPS21-0397       Michelle Thomlin          PPS21-0432
Vincent Piazza           PPS21-0194       Gabriel E. Tranum         PPS21-0433
Brian Pierce             PPS21-0195       Clinton Turpen            PPS21-0509
Timothy Pinney           PPS21-0196       Paul Turpen               PPS21-0510




        Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 33 of 44
                                                                                                                            Electronically Filed - Jackson - Kansas City - November 17, 2021 - 09:43 AM
Christa Vanmeter                PPS21-0224                       Barbara A. West                 PPS21-0443
Harold Vantassel                PPS21-0225                       Derek L. Weston                 PPS21-0444
Margarito Vasquey               PPS21-0435                       Jane A. Weston                  PPS21-0445
Robert Vick, II                 PPS21-0226                       Pamela Wheetley                 PPS21-0086
Brad Votaw                      PPS21-0227                       Jonathan Wilkerson              PPS21-0449
Joseph T. Wachowski             PPS21-0438                       Gregory Willing                 PPS21-0088
Ambiko Wallace                  PPS21-0228                       Mitchell A. Wirth               PPS21-0452
Vance Warren, Sr.               PPS21-0229                       Connie Wilson                   PPS21-0089
Stephen R. Waters               PPS21-0440                       Adrienne D. Yates               PPS21-0455

as private process servers in the above-captioned matter. In support of said motion, Plaintiff/Petitioner states that the
above-named individuals are on the Court’s list of approved process servers and the information contained in their
applications and affidavits on file is current and still correct.

                                                            Respectfully submitted,

                                                            SIRO SMITH DICKSON PC

                                                           By /s/ Eric W. Smith
                                                              Eric W. Smith                         MO #47108
                                                              Rik N. Siro                           MO #33908
                                                              Athena M. Dickson                     MO #55104
                                                              Raymond A. Dake                       MO #62829
                                                              Ryan P. McEnaney                      MO #70235
                                                              1621 Baltimore Avenue
                                                              Kansas City, Missouri 64108
                                                              816.471.4881 (Tel)
                                                              816.471.4883 (Fax)
                                                              esmith@sirosmithdickson.com (email)
                                                              rsiro@sirosmithdickson.com (email)
                                                              adickson@sirosmithdickson.com (email)
                                                              rdake@sirosmithdickson.com (email)
                                                              rmcenaney@sirosmithdickson.com (email)
                                                          ATTORNEYS FOR PLAINTIFF



                          ORDER FOR APPOINTMENT OF PRIVATE PROCESS SERVER

        It is hereby ordered that Plaintiff’s Motion for Appointment of Private Process Server is sustained and the
above named individuals are hereby appointed to serve process in the above captioned matter.



DATE:       24-Nov-2021                                          ___________________________________
                                                                  ___
                                                                   ______________
                                                                               _ ___________________




         Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 34 of 44
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                              AT KANSAS CITY

JAMIE L INGRAM,

                        PLAINTIFF(S),                            CASE NO. 2116-CV25672
VS.                                                              DIVISION 13

DICK'S SPORTING GOODS, INC.,

                        DEFENDANT(S).

       NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION
______________________________________________________________________________

          NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable CHARLES H MCKENZIE on 07-MAR-2022 in DIVISION 13 at 08:30 AM. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday of the week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16th Cir. R. 34.1.
Continuance of a Case Management Conference will only be granted for good cause shown because
it is the desire of the Court to meet with counsel and parties in all cases within the first 4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the 16th Judicial
Circuit web site at www.16thcircuit.org after filing an application for continuance to determine
whether or not it has been granted.

        A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel, even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

        a.      A trial setting;
        b.      Expert Witness Disclosure Cutoff Date;
        c.      A schedule for the orderly preparation of the case for trial;
        d.      Any issues which require input or action by the Court;
        e.      The status of settlement negotiations.



2116-CV25672                    Page 1 of 2                DMSNCMCIV (2/2017)
      Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 35 of 44
                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

        The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                  POLICIES/PROCEDURES
       Please refer to the Court’s web page www.16thcircuit.org for division policies and
procedural information listed by each judge.

                                              /S/ CHARLES H MCKENZIE
                                              CHARLES H MCKENZIE, Circuit Judge

                                       Certificate of Service

         This is to certify that a copy of the foregoing was mailed postage pre-paid or hand
delivered to the plaintiff with the delivery of the file-stamped copy of the petition. It is further
certified that a copy of the foregoing will be served with the summons on each defendant named
in this action.

Attorney for Plaintiff(s):
RYAN PATRICK MCENANEY, 1621 BALTIMORE AVENUE, KANSAS CITY, MO 64108

RAYMOND ALLAN DAKE, 1621 BALTIMORE AVENUE, KANSAS CITY, MO 64108

ATHENA M BRACKMANN DICKSON, SIRO SMITH DICKSON PC, 1621 BALTIMORE
AVENUE, KANSAS CITY, MO 64108

RIK N SIRO, 1621 BALTIMORE AVENUE, KANSAS CITY, MO 64108

ERIC WATKINS SMITH, 1621 BALTIMORE AVENUE, KANSAS CITY, MO 64108

Defendant(s):
DICK'S SPORTING GOODS, INC.

Dated: 24-NOV-2021                                              MARY A. MARQUEZ
                                                                Court Administrator


2116-CV25672                    Page 2 of 2                DMSNCMCIV (2/2017)
      Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 36 of 44
                                                                                             Electronically Filed - Jackson - Kansas City - December 09, 2021 - 04:41 PM
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                              AT KANSAS CITY

JAMIE L. INGRAM,                                 )
                                                 )
                            Plaintiff,           )
                                                 )
vs.                                              )       Case No. 2116-CV25672
                                                 )       Division 13
DICK’S SPORTING GOODS, INC.,                     )
                                                 )
                            Defendant.           )


                              CERTIFICATE OF SERVICE

       COMES NOW Plaintiff and hereby certifies that Plaintiff’s First Interrogatories To

Defendant Dick’s Sporting Goods, Inc. and Plaintiff’s First Request For Production Of

Documents To Defendant Dick’s Sporting Goods, Inc. in hard copy and on a CD in Word format

were served with Summons and Petition upon defendant pursuant to Supreme Court Rule 57.

                                             Respectfully submitted,

                                             SIRO SMITH DICKSON PC

                                             By /s/ Eric W. Smith
                                                Eric W. Smith                MO #47108
                                                Rik N. Siro                  MO #33908
                                                Athena M. Dickson            MO #55104
                                                Raymond A. Dake              MO #62829
                                                Ryan P. McEnaney             MO #70235
                                                1621 Baltimore Avenue
                                                Kansas City, Missouri 64108
                                                816.471.4881 (Tel)
                                                816.471.4883 (Fax)
                                                esmith@sirosmithdickson.com (email)
                                                rsiro@sirosmithdickson.com (email)
                                                adickson@sirosmithdickson.com (email)
                                                rdake@sirosmithdickson.com (email)
                                                rmcenaney@sirosmithdickson.com (email)

                                                     ATTORNEYS FOR PLAINTIFF




       Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 37 of 44
                                                                                               Electronically Filed - Jackson - Kansas City - December 09, 2021 - 04:41 PM
Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
following parties:



SERVICE PARTY:RAYMOND ALLAN DAKE, Attorney for Plaintiff
SERVICE EMAIL: rdake@sirosmithdickson.com



SERVICE PARTY:RYAN PATRICK MCENANEY, Attorney for Plaintiff
SERVICE EMAIL: rmcenaney@sirosmithdickson.com



SERVICE PARTY:ATHENA M BRACKMANN DICKSON, Attorney for Plaintiff
SERVICE EMAIL: adickson@sirosmithdickson.com



SERVICE PARTY:RIK N SIRO, Attorney for Plaintiff
SERVICE EMAIL: rsiro@sirosmithdickson.com




           Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 38 of 44
Electronically Filed - Jackson - Kansas City - December 28, 2021 - 03:48 PM




                                                                              Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 39 of 44
Electronically Filed - Jackson - Kansas City - December 28, 2021 - 03:48 PM




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Electronically Filed - Jackson - Kansas City - December 28, 2021 - 03:48 PM




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Electronically Filed - Jackson - Kansas City - December 28, 2021 - 03:48 PM




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Electronically Filed - Jackson - Kansas City - December 28, 2021 - 03:48 PM




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Electronically Filed - Jackson - Kansas City - December 28, 2021 - 03:48 PM




                                                                              Case 4:22-cv-00026-SRB Document 1-6 Filed 01/14/22 Page 44 of 44
